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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                               Case No. 18-20826
      v.
                                               Hon. George Caram Steeh
DARRYL ANTHONY ROSS,

              Defendant.
______________________________/

             ORDER DENYING DEFENDANT’S REQUEST
            FOR APPOINTMENT OF COUNSEL (ECF No. 58)

      The court has received a letter from Defendant Darryl Anthony Ross

requesting the appointment of counsel, which it will construe as a motion.

Ross seeks the assistance of counsel in order to petition the court for

compassionate release.

      Ross is serving an 86-month sentence for conspiracy to possess with

intent to distribute controlled substances and possession with intent to

distribute hydrocodone and codeine. He is housed at FCI Milan. He

contends that he has an unspecified health condition that makes him

vulnerable should he contract COVID-19.

      In response to the COVID-19 pandemic, the Bureau of Prisons

(“BOP”) has been evaluating prisoners nationwide in order to determine
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which inmates face the most risk from COVID-19, pose the least danger to

public safety, and can safely be granted home confinement.1 This effort is

consistent with the Coronavirus Aid, Relief and Economic Security Act

(“CARES Act”), Pub. L. No. 116-136, 516 § 12003(b)(2), 134 Stat. 281

(2020), which provides that “if the Attorney General finds that emergency

conditions will materially affect the functioning of the BOP, the Director of

the Bureau may lengthen the maximum amount of time for which the

Director is authorized to place a prisoner in home confinement.” Id.

      Another potential avenue for relief for Ross is a motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended

by the First Step Act of 2018. This section allows for judicial modification of

an imposed term of imprisonment when three criteria have been met: (1)

the defendant has first exhausted all administrative remedies with the BOP

or at least allowed the BOP 30 days to act on his request before seeking

compassionate release on his own motion; (2) extraordinary and

compelling reasons warrant such a reduction; and (3) the reduction is

consistent with the applicable policy statements issued by the Sentencing



1
  See Attorney General’s Directives to BOP, available at
https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement.pdf; and
https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf.

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Commission and the court has considered the factors set forth in section

3553(a). 18 U.S.C. § 3582(c)(1)(A)(i).

      Ross has not alleged that he has exhausted his administrative

remedies by presenting his request for compassionate release to the BOP.

The Sixth Circuit has recently determined that this exhaustion requirement

is mandatory and may not be excused by the court. United States v. Alam,

__ F.3d __, 2020 WL 2845694, at *2 (6th Cir. June 2, 2020).

      In addition, Ross has not articulated extraordinary and compelling

reasons warranting compassionate release. An “extraordinary and

compelling reason” for the reduction can be satisfied in cases where a

defendant’s medical conditions or overall state of health are such that they

cannot be treated effectively or will worsen in a custodial environment. To

qualify, a defendant must have a medical condition, age-related issue,

family circumstance, or other reason that satisfies the criteria in USSG §

1B1.13(1)(A) & cmt. n.1, and he must “not [be] a danger to the safety of

any other person or to the community,” USSG § 1B1.13(2).

      Although Ross alleges that he has a health condition that puts him at

greater risk for COVID-19 complications, such allegations are insufficient to

establish extraordinary and compelling reasons for release. See United

States v. Peaks, No. 16-20460, 2020 WL 2214231, at *2 (E.D. Mich. May 7,

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2020) (a “generalized risk of contracting COVID-19 and potentially

developing the more severe symptoms is not akin to the type of

‘extraordinary and compelling reasons’ justifying compassionate release

identified by the Sentencing Commission”) (Goldsmith, J.); accord United

States v. Bridges, No. 14-20007, 2020 WL 2553299, at *4 (E.D. Mich. May

20, 2020) (Cox, J.).

      Because Ross has not articulated a colorable claim for

compassionate release, the court will deny his request for the appointment

of counsel. The appointment of counsel for postconviction proceedings is a

matter of the court’s discretion, not a constitutional right. See Pennsylvania

v. Finley, 481 U.S. 551, 555 (1987); Lemeshko v. Wrona, 325 F. Supp. 2d

778, 787 (E.D. Mich. 2004) (court may appoint counsel for habeas petitioner

“only where the interests of justice or due process so require”); United

States v. Prater, 2020 WL 2616120, at *2 (E.D. Ky. May 22, 2020) (“There

is no constitutional right to counsel in proceedings filed under 18 U.S.C.

§ 3582.”). When a petitioner has not articulated a colorable claim, the

appointment of counsel would not serve the interests of justice. Lemeshko,

325 F. Supp.2d at 788.




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      Accordingly, IT IS HEREBY ORDERED that Ross’s request for the

appointment of counsel is DENIED.

Dated: July 9, 2020

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE



                                CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                 July 9, 2020, by electronic and/or ordinary mail and also on
                  Darryl Ross #49587-039, FCI Milan, Federal Correctional
                         Institution, P.O. Box 1000, Milan, MI 48160.

                                      s/Brianna Sauve
                                        Deputy Clerk




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